194 F.2d 288
    C. Abbott LINDSEY and Pauline Lindsey, Petitioners,v.COMMISSIONER OF INTERNAL REVENUE, Respondent.COMMISSIONER OF INTERNAL REVENUE, Petitioner,v.Eleanore LANGER, Respondent.COMMISSIONER OF INTERNAL REVENUE, Petitioner,v.ESTATE of R. L. LANGER, deceased, Respondent.
    No. 12959.
    No. 12970.
    No. 12971.
    United States Court of Appeals Ninth Circuit.
    February 20, 1952.
    
      Petitions to Review Decisions of the Tax Court of the United States.
      Dana Latham, Austin H. Peck, Jr., Henry C. Diehl, all of Los Angeles, Cal., for taxpayer.
      Ellis N. Slack, Acting Asst. Atty. Gen., A. F. Prescott, Edward J. P. Zimmerman, L. W. Post, Sp. Assts., for Commissioner.
      Before MATHEWS, STEPHENS and ORR, Circuit Judges.
      PER CURIAM.
    
    
      1
      In these cases, following our decision in 9 Cir., 183 F.2d 758, the Tax Court made findings, filed an opinion, 16 T.C. 41, and entered decisions determining that there were deficiencies in respect of the income tax of C. Abbott Lindsey for 1944 and 1945 in the respective amounts of $2,041.07 and $2,867.32; that there were like deficiencies in respect of the income tax of Pauline Lindsey for 1944 and 1945; that there was an overpayment of the income tax of Eleanore Langer for 1944 in the amount of $2,785.38; and that there was an overpayment of the income tax of R. L. Langer for 1944 in the amount of $2,762.46. These decisions of the Tax Court are affirmed on the grounds and for the reasons stated in its opinion.
    
    